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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                Plaintiff,                                       Case No. 1:08-CR-230

v.                                                               Hon. Janet T. Neff

DONALD VICTOR TREMAIN,

            Defendant.
_______________________________________/


                     ORDER GRANTING MOTION TO MODIFY BOND

                Pending before the court is a motion by defendant Donald Victor Tremain to modify

his conditions of bond to allow for travel to the State of Louisiana for employment purposes (docket

no. 52). The motion is unopposed. Upon due consideration, the motion is GRANTED and

defendant’s bond is amended to allow him to travel to the state of Louisiana. He shall remain in

contact with the Pretrial Services office as that office requires, and all other provisions of the present

bond shall remain in effect.

                IT IS SO ORDERED.



Dated: November 17, 2008                                 /s/ Hugh W. Brenneman, Jr.
                                                         HUGH W. BRENNEMAN, JR.
                                                         United States Magistrate Judge
